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                                     UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF FLORIDA
                                          ORLANDO DIVISION

        NUVASIVE, INC.,                                  )
                                                         )
                       Plaintiff,                        )
        v.                                               ) Civil Action File No. xx
                                                         )
        ABSOLUTE MEDICAL, LLC, GREG                      )
        SOUFLERIS, and DAVE HAWLEY,                      )
                                                         )
                       Defendants.                       )
                                                         )

             DEFENDANT DAVE HAWLEY'S RESPONSES TO PLAINTIFF'S FIRST SET OF
                       REQUEST FOR PRODUCTION OF DOCUMENTS

                Pursuant to Rule 34 of the Federal Rules of Civil Procedure (the "Federal Rules"),

         DAVE HAWLEY ("Defendant") hereby responds and objects to the Request for Production

(        dated April 12, 2018, served upon him by NUVASIVE, INC ("Plaintiff') (the "Request for
·~
         Production"), as follows:

                Defendant has conducted a diligent search and reasonable inquiry ill response to the

         Request for Production and Requests for Documents. However, Defendant has not completed

        his investigation of the facts related to this case, has not completed discovery in this Action, and

        has not completed its preparation for any trial that might be held herein. His responses and

         objections to the Request for Production        and Requests ·for Documents are based upon

         information currently known to Defendant and are given without prejudice to Defendant's right

         to revise, correct, supplement, add to, amend, or clarify its responses and/or objections to the

        Request for Production when and if additional information or documentation comes to his

         attention. Moreover, Defendant expressly reserves the right to make use of, or introduce at any




                                                                                                        EXHIBIT
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    hearing or trial, documents or facts not known to exist at the time of production, including,

    without limitation, documents obtained in the course of discovery in this Action.

            Defendant's Responses and Objections to the Request for Production or his production of

    any documents shall not be construed as: (i) an admission as to the relevance, admissibility, or

    materiality of any such documents or their subject matter; (ii) a waiver or abridgment of any

    applicable privilege; or (iii) an agreement that requests for similar documents will be treated

    similarly.

            Further, Defendant reserves all of its rights, including its right to supplement, amend, or

    correct any of its Responses and Objections to the Request for Production and his right to object

    to the admissibility of any part of any document produced in response to any Request or

    information contained in any such document.

                                          I.   GENERAL OBJECTIONS


            Without in any way limiting the Preliminary Statement set forth above, Defendant asserts

    the following general objections:

          1.        Defendant objects to the Request for Production in its entirety to the extent

    that it is overbroad or purports to impose obligations upon it that exceed those set forth in

    Federal Rules 26, 34 and 45, the Case Management Order entered in this case, or any other

    applicable statute, rule, or order.

          2.        Defendant objects to the Request for Production in its entirety to the extent

    that it purports to call for the disclosure of information, or the production of documents, that

    are subject to the attorney work product protection, the attorney-client privilege, or any other

    applicable privilege, including privileged information or documents shared with entities with

    which Defendant holds or held a common interest.
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          3.        Defendant asserts such privileges and objects to the provision of information

    or production of any documents subject thereto. To the extent that any production of

    documents or information is made, any inadvertent production of such privileged documents

    or information in response to the Request for Production would not be intended to constitute

    a waiver of any applicable privilege or protection. Defendant demands that Plaintiff, its

    agents and attorneys notify Defendant's undersigned counsel of the production of any such

    documents immediately upon discovery of such documents, and return such documents to

    such undersigned counsel upon request.

          4.       Defendant objects to the Request for Production in its entirety to the extent it

    purports to call for the disclosure of information, or the production of documents, that are

    part of a category of documents subject to the attorney work product protection, the

    attorney-client privilege, or any other applicable privilege, including privileged information

    or documents shared with parties for whom Defendant serves in an distributor capacity.

          5.       Defendant objects to the Request for Production in its entirety to the extent

    that it purports to require the production of documents that are not in its possession, custody,

    or control.

          6.       No objection or limitation, or lack thereof, or statement that Defendant will

    produce documents made these Responses and Objections constitutes an admission as to the

    existence or nonexistence of documents or information by Defendant.

          7.        Defendant objects to the Request for Production in its entirety to the extent

    that it is vague ambiguous confusing, and contrary to the plain meaning of the terns

    involved.
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          8.       Defendant objects to the Request for Production in its entirety to the extent

    that it purports to call for the disclosure of information, or the production of documents, that

    are subject to the terms of the Case Management Order.

          9.       Defendant objects to the futerrogatories in its entirety to the extent that it is

    outside the scope of this action and has no relation to the claims and defenses raised in this

    litigation, and thus not proportional to the needs of the case, or the production of such

    constitutes material protected from disclosure pursuant to the Case Management Order.

          10.        Defendant objects to the Request for Production in its entirety to the extent

    entirety to the extent that it calls for the document-by-document identification within thirty

    days of service of the Request for Production of those documents that are protected by the

    attorney-client privilege, common interest privilege, and work product protection as seeking

    to impose obligations beyond the scope of Federal Rules 26, 34 and 45, and beyond the

    scope of the Case Management Order entered in this case. Given the number of documents

    subject to review by Defendant further objects on the grounds that such an instruction is

    unduly burdensome.

          11.        Defendant objects to the Request for Production in its entirety to the extent

    that (a) the discovery sought by any Request is unreasonably cumulative or duplicative, or

    is obtainable from another source that is more convenient, less burdensome, or less

    expensive; (b) the requested documents were previously produced and are currently located

    in the Document Depository; (c) Plaintiff has obtained the material sought by any request

    or demand in any other proceeding or pursuant to any other means;(d) the documents are a

    matter of public record or could be obtained from Plaintiff or its counsel's files; or (e) the

    burden or expense of any demand outweighs its likely benefit.
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               12.        Defendant objects to the Request for Production in its entirety to the extent

         that it calls for information from Defendant in a capacity other than Defendant's capacity as

         distributor, and/or seeks discovery as to the ordinary-course business relationships between

         any party and Defendant or any entity related to Defendant.

               13.        Defendant objects to the term "any and "all" as used throughout the

         Request for Production as overly broad and unduly burdensome. Defendant will make a

         good faith, reasonable, and diligent effort to locate responsive documents consistent with

         any General or Specific Objections. In searching for documents, Defendant will conduct a

         thorough and reasonable search for its records kept in the ordinary course of business, where

         information, documents or other things responsive to this discovery are most likely to be

         found. Defendant has also sought information from those persons who are most likely to

         know of information or documents or other things responsive to the Request for Production.
"'
         To the extent the Request for Production asks for more arid seeks documents that are not

         reasonably accessible because they cannot be retrieved, or produced without undue burden

         or cost, such as backup tapes intended for disaster recovery, Defendant objects because the

         discovery is overly broad and unduly burdensome.

                                      RESPONSES AND OBJECTIONS

                1.      Please produce all contracts or other agreements between you and Alphatec.

         RESPONSE: Defendant objects to this request as it is overly broad, unduly burdensome,
         vague, and ambiguous as Plaintiff is requesting "all" contracts and agreements. Defendant
         further objects to this request and as grounds asserts that Plaintiff seeks to discover
         documents that are irrelevant and outside the scope of this action and that have no relation
         to the claims and defenses raised in this litigation, and thus not proportional to the needs of
         the case as the relationship between Defendant and Alphatec Spine, Inc. ("Alphatec"), a
         nonparty, is not relevant to this litigation. Further, Defendant is not subject to a non-
         compete agreement with Absolute Medical, LLC or NuVasive.
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            2.     Please produce all contracts or other agreements between you and Absolute,
    Absolute Medical, Inc., Absolute Medical Systems, LLC, and/or any other entity owned or
    controlled by Soufleris.
    RESPONSE: Defendant objects to this request as it is overly broad, unduly burdensome,
    vague, and ambiguous as Plaintif( is requesting "all" contracts and agreements. Defendant
    further objects to this request and as grounds asserts that Plaintiff seeks to discover
    documents that are irrelevant and outside the scope of tl~is action and that have no relation
    to the claims and defenses raised in this litigation, and thus not proportional to the needs of
    the case. Notwithstanding said objections, Defendant has no documents responsive to this
    request.

            3.      Please produce all Communications between you and Soufleris from June 1, 2017,
    to the present.
    RESPONSE: Defendant objects to this request as it is overly broad, unduly burdensome,
    vague, and ambiguous as Plaintiff is requesting "all" communications. Defendant further
    objects to this request and as grounds asserts that Plaintiff seeks to discover documents
    that are irrelevant and outside the scope of this action and that have no relation to the
    claims and defenses raised in this litigation, and thus not proportional to the needs of the
    case.

           4.       Please produce all Communications between you and Ryan Miller from June
    1,2017, to the present.
    RESPONSE: Defendant objects to this request as it.is overly broad, unduly burdensome,
    vague, and ambiguous as Plaintiff is requesting "all" co'mmunications. Defendant further
    objects to this request and as grounds asserts that Plaintiff seeks to discover documents
    that are irrelevant and outside the scope of this action and that have no relation to the
    claims and defenses raised in this litigation, and thus not proportional to the needs of the
    case as the relationship between Defendant and Ryan Miller, a nonparty, is not relevant to
    the case.

            5.      Please produce all Communications between you and Brandon Gottstein from
    June 1, 2017, to the present.
    RESPONSE: Defendant objects to this request as it is overly broad, unduly burdensome,
    vague, and ambiguous as Plaintiff is requesting "all" communications. Defendant further
    objects to this request and as grounds asserts that Plaintiff seeks to discover documents
    that are irrelevant and outside the scope of this action and that have no relation to the
    claims and defenses raised in this litigation, and thus not proportional to the needs of the
    case as the relationship between Defendant and Brandon Gottstein, a nonparty, is not
    relevant to the_ case.

           6.      Please produce all Communications (that were not responsive to Requests 3
    through5) between you and Absolute, Absolute Medical, Inc., Absolute Medical Systems, LLC,
    and/or any other entities owned or controlled by Soufleris from June 1, 2017, to the present.
    RESPONSE: Defendant objects to this request as it is overly broad, unduly burdensome,
    vague, and ambiguous as Plaintiff is requesting "all" communications. Defendant further
    objects to this request and as grounds asserts that Plaintiff seeks to discover documents
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        that are irrelevant and outside the scope of this action and that have no relation to the
        claims and defenses raised in this litigation, and thus not proportional to the needs of the
        case.

                7.     Please produce all Communications between you and Elizabeth Lukianov from
        June 1, 2017, to the present.
        RESPONSE: Defendant objects to this request as it is overly broad, unduly burdensome,
        vague, and ambiguous as Plaintiff is requesting "all" communications. Defendant further
        objects to this request and as grounds asserts that Plaintiff seeks to discover documents
        that are irrelevant and outside the scope of this action and that have no relation to the
        claims and defenses raised in this litigation, and thus not proportional to the needs of the
        case as the relationship between Defendant and Elizabeth Lukianov, a nonparty, is not
        relevant to the case.


                8.     Please produce all Communications between you and Craig Hunsaker from June l,
        2017, to the present.
        RESPONSE: Defendant objects to this request as it is overly broad, unduly burdensome,
        vague, and ambiguous as Plaintiff is requesting "all" communications. Defendant further
        objects to this request and as grounds asserts that Plaintiff seeks to discover documents
        that are irrelevant and outside the scope of this action and that have no relation to the
        claims and defenses raised in this litigation, and thus not proportional to the needs of the
        case as the relationship between Defendant and Craig Hunsaker, a nonparty, is not
        relevant to the case.


               9.      Please produce all Communications between you and Pat Miles from June 1,
        2017,to the present.
        RESPONSE: Defendant objects to this request as it is overly broad, unduly burdensome,
        vague, and ambiguous as Plaintiff is requesting "all" communications. Defendant further
        objects to this request and as grounds asserts that Plaintiff seeks to discover documents
        that are irrelevant and outside the scope of this action and that have no relation to the
        claims and defenses raised in this litigation, and thus not proportional to the needs of the
        case as the relationship between Defendant and Pat Miles, a nonparty, is not relevant to the
        case.

               10.     Please produce all Communications (that were not responsive to Requests 7
        through9) between you and Alphatec from June 1, 2017, to the present.
        RESPONSE: Defendant objects to this request as it is overly broad, unduly burdensome,
        vague, and ambiguous as Plaintiff is requesting "alP' communications. Defendant further
        objects to this request and as grounds asserts that Plaintiff seeks to discover documents
        that are irrelevant and outside the scope of this action and that have no relation to the
        claims and defenses raised in this litigation, and thus not proportional to the needs of the
        case as Defendant is not subject to a non-compete agreement with either NuVasive or
        Absolute Medical, LLC.
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            11.    Please prodllce all Communications between you and Dr. Paul Sawin between
    Junel, 2017, and the present.
    RESPONSE: Defendant objects to this request as it is overly broad, unduly burdensome,
    vague, and ambiguous as Plaintiff is requesting "all" communications. Defendant further
    objects to this request and as grounds asserts that Plaintiff seeks to discover documents
    that are irrelevant and outside the scope of this action and that have no relation to the
    claims and defenses raised in this litigation, and thus n()t proportional to the needs of the
    case as the relationship between Defendant and Dr. Paul Sawin, a nonparty, is not relevant
    to the case.

            12.    Please produce all Communications between you and Dr. Rafael Allende between
    June 1, 2017, and the present.
    RESPONSE: Defendant objects to this request as it is overly broad, unduly burdensome,
    vague, and ambiguous as Plaintiff is requesting "all" communications. Defendant further
    objects to this request and as grounds asserts that Plaintiff seeks to discover documents
    that are irrelevant and outside the scope of this action and that have no relation to the
    claims and defenses raised in this litigation, and thus not proportional to the needs of the
    case as the relationship between Defendant and Dr. Rafael Allende a nonparty, is not
    relevant to the case.

           13.     Please produce all charge sheets you submitted to or on behalf of Alphatec.
    RESPONSE: Defendant objects to this request as it is overly broad, unduly burdensome,
    vague, and ambiguous as Plaintiff is requesting "all" charge sheets. Defendant further
    objects to this request and as grounds asserts that Plaintiff seeks to discover documents
    that are irrelevant and outside the scope of this action and that have no relation to the
    claims and defenses raised in this litigation, and thus not proportional to the needs of the
    case. Specifically, in its Complaint, Plaintiff is only pursuing Defendant for conversion and
    under the Florida Deceptive and Unfair Practices Act ("FDUTPA") for allegedly sending
    NuVasive instruments to Alphatec Spine, Inc. Plaintiff has asserted no allegations against
    Defendant regarding charge sheets or sales, if any, on behalf of Alphatec. As such, this
    request is seeking documents that are irrelevant and not proportional to the needs of the
    case.

            14.     Please produce all state and federal income tax returns that you filed or caused to
    be filed for calendar years 2016 and 2017.
    RESPONSE: Defendant further objects to this request and as grounds asserts that
    Plaintiff seeks to discover documents that are irrelevant and outside the scope of this action
    and that have no relation to the claims and defenses raised in this litigation, and thus not
    proportional to the needs of the case. Specifically, Plaintiff is only entitled to request
    financial records that pertain to the pending action. This is clearly a post-judgment
    discovery request because Plaintiff is attempting to improperly pry into the assets and
    business of Defendant prior to obtaining a judgment. Further, Plaintiff has made no
    allegations against Defendant regarding the calendar year of 2016.

           15.     Please produce all requests for expense reimbursements you submitted to Alphatec,
    Absolute, or any other participant in the spine industry (other than NuVasive) since June 1, 2017.
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    RESPONSE: Defendant objects to this request as it is overly broad, unduly burdensome,
    vague, and ambiguous as Plaintiff is requesting "all" expense reimbursements, including
    those from "any other participant in the spine industry". Defendant further objects to this
    request and as grounds asserts that Plaintiff seeks to discover documents that are
    irrelevant and outside the scope of this action and that have no relation to the claims and
    defenses raised in this litigation, and thus not proportional to the needs of the case.
    Specifically, in its Complaint, Plaintiff is only pursuing Defendant for conversion and
    under the FDUTPA for allegedly sending NuVasive instruments to Alphatec Spine, Inc.
    Plaintiff has asserted no allegations against Defendant regarding expense reimbursement
    or sales, if any, on behalf of Alphatec. As such, this request is seeking documents that are
    irrelevant and not proportional to the needs of the case.

            16.    Please produce all records of payments you have received from Alphatec, Absolute,
    or any other participant in the spine industry (other than NuVasive) since March 1, 2017.
    RESPONSE: Defendant objects to this request as it is overly broad, unduly burdensome,
    vague, and ambiguous as Plaintiff is requesting "all" records for payments. Defendant
    further objects to this request and as grounds asserts that Plaintiff seeks to discover
    documents that are irrelevant and outside the scope of this action and that have no relation
    to the claims and defenses raised in this litigation, and thus not proportional to the needs of
    the case. Specifically, in its Complaint, Plaintiff is only pursuing Defendant for conversion
    and under FDUTPA for allegedly sending NuVasive instruments to Alphatec Spine, Inc.
    Plaintiff has asserted no allegations against Defendant regarding any payments received or
    sales, if any, on behalf of Alphatec. As such, this request is seeking documents that are
    irrelevant and not proportional to the needs of the case.

            17.    Please produce all commission statements you have received from Alphatec,
    Absolute, or any other participant in the spine industry (other than NuVasive) since March 1, 2017.
    RESPONSE: Defendant objects to this request as it is overly broad, unduly burdensome,
    vague, and ambiguous as Plaintiff is requesting "all" commission statements. Defendant
    further objects to this request and as grounds asserts that Plaintiff seeks to discover
    documents that are irrelevant and outside the scope of this action and that have no relation
    to the claims and defenses raised in this litigation, and thus not proportional to the needs of
    the case. Specifically, in its Complaint, Plaintiff is only pursuing Defendant for conversion
    and violation of FDUTPA for allegedly sending NuVasive instruments to Alphatec Spine,
    Inc. Plaintiff has asserted no allegations against Defendant regarding any commissions
    received or sales, if any, on behalf of Alphatec. As such, this request is seeking documents
    that are irrelevant and not proportional to the needs of the case.

            18.    Please produce your cellular telephone records and/or bills from June 1, 2017, to
    the present.
    RESPONSE: Defendant objects to this request as it is overly broad, unduly burdensome,
    vague, and ambiguous as Plaintiff is requesting "all" cellular phone records and bills since
    June 1, 2017. Defendant further objects to this request and as grounds asserts that
    Plaintiff seeks to discover documents that are irrelevant and outside the scope of this action
    and that have no relation to the claims and defenses raised in this litigation, and thus not
    proportional to the needs of the case. Specifically, in its Complaint, Plaintiff is only
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    pursuing Defendant for conversion and violation of FDUTPA for allegedly sending
    NuVasive instruments to Alphatec Spine, Inc.
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                                 CERTIFICATE OF SERVICE
           I HEREBY CERTIFY that on May 14, 2018, that I electronically transmitted a true copy
     to:

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                                                           Respectfully,

                                                           Isl Chantal M Pillay
                                                           Chantal M. Pillay
                                                           Fla. Bar No. 108369
